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                                   UNITED STATES DISTRICT COURT
                                     DISTRICT OF RHODE ISLAND

   ---------------------------------------------------------------X
   JOHN DOE,                                                      :   Civ. No. 15-cv-00144-S-LDA
                                                                  :
                                       Plaintiff,                 :
                                                                  :
                     -against-                                    :
                                                                  :
   BROWN UNIVERSITY                                               :
     in Providence in the State of Rhode Island                   :
     and Providence Plantations,                                  :
                                                                  :
                                       Defendant.                 :
   ---------------------------------------------------------------X

           PLAINTIFF’S REPLY MEMORANDUM IN FURTHER SUPPORT OF
         MOTION TO SUPPLEMENT EXPERT REPORT OF ROBERT SANDY, Ph.D.

           Plaintiff John Doe submits this Reply Memorandum in further support of his Motion to

   supplement the report of his expert economist Robert Sandy, Ph.D. and in response to the

   Objection filed by Brown University (CM/ECF 101-1).

           As argued in further detail below, the first two proposed supplements to Mr. Sandy’s

   report add to his calculations of “full value” lost earnings with an adjustment for the probabilities

   of certain career scenarios for Plaintiff provided by two other experts, Suzanne Miller, M.D. and

   Nicholas Theodore, M.D. While these supplements expand upon the information in Mr. Sandy’s

   report, they do not contradict the essential analysis he performed there. The other two

   supplements correct issues in damages that did not involve the same level of economic analysis

   as the earnings projections and therefore are less essential. Also, all of these supplements were

   provided while expert discovery was still ongoing, with the opportunity for Defendant to

   examine Mr. Sandy regarding these supplements in a follow-up deposition, which opportunity

   Defendant declined to exercise.
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          A.      Prior Fact Discovery (Objection, pp. 5-6)

          Defendant is correct to note that Plaintiff produced some of the documentation for the

   factual assumptions underlying Mr. Sandy’s testimony after the close of factual discovery.

   While this sequence did not comply with the Court’s scheduling order, it generally provided

   Defendant an adequate opportunity to examine Mr. Sandy at his deposition about the central

   parts of his expert analysis.

          In reviewing Defendant’s claims of shortcomings in Plaintiff’s discovery responses, it is

   only fair for the Court to consider Defendant’s discovery shortcomings. For example,

   Defendant’s production of documents has been piecemeal and haphazard, resulting in the

   following supplementations after its initial production in June, 2016:

                 August 29, 2016:              174 pages (2½ months after initial production)

                 September 26, 2016:           242 pages (3 months after initial production)

                 October 27, 2016              55 pages (4½ months after initial production, in
                                                compliance with a court order to produce after
                                                granting Plaintiff’s motion to compel CM/ECF 53)

                 December 14, 2016             8 pages (six months after initial production)

                 December 16, 2016             4 pages (six months after initial production)

                 February 1, 2017:             142 pages (almost eight months after initial
                                                production, in compliance with a 1/12/17 court text
                                                order to produce after granting Plaintiff’s motion to
                                                compel)

                 February 7, 2017:             142 pages (eight months after initial production)

                 May 12, 2017:                 102 pages (more than 11 months after initial
                                                production)




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          Within this general pattern, certain issues were more difficult for Plaintiff to deal with

   than others. For example, some of the supplements were the result of a “cat and mouse”

   exchange whereby Plaintiff would notice a deficiency, bring it to Defendant’s attention, only for

   Defendant to have to supplement, raising a question regarding the completeness of the rest of

   Defendant’s production. See Exhibit A (providing Marylou McMillan documents in response to

   request of Plaintiff’s counsel). Another time, Defendant failed to supplement until more than

   two months after a key witness named in the late-produced documents testified at her

   deposition.1 The December 16, 2016 production, ostensibly of Professor Schultz’s four pages of

   notes from Plaintiff’s Student Conduct Board hearing (see Exhibit C), probably was missing a

   key fifth page. Defendant produced this page in response to an order from the Court to produce

   materials from the John Doe 2 case, as described in a previous memorandum Plaintiff filed with

   the Court. See CM/ECF 89, pp. 8-9, n. 6. When Plaintiff’s counsel tried to enlist Defendant’s

   cooperation in correcting this discovery gap informally (see Exhibit D), Defendant did not

   respond. Plaintiff plans to work around the problem at trial.

          In short, Defendant’s discovery inadequacies go beyond the garden variety

   “gamesmanship” of excessive objections that the Court overruled when granting portions of

   Plaintiff’s two Motions to Compel, to include excessive and occasionally untimely

   supplementations that were not properly explained. These shortcomings have complicated

   Plaintiff’s investigation, but he has accepted them as part of the rough and tumble of the civil

   discovery process. In the context of this Motion to Supplement, Plaintiff submits the Court

   1
          See Exhibit B (Meisel documents), produced on May 12, 2017. This production, which
          included correspondence between Mr. Meisel and Vice President Klawunn concerning
          the handling of John Doe’s appeal, came more than two months after the conclusion of
          the deposition of Vice President Klawunn, who had left Brown University and testified
          from her new home in California.
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   should consider Defendant’s discovery missteps as part of the “history of the litigation” (see pp.

   10-11, infra, quoting Esposito v. Home Depot, 590 F.3d 72, 78 (1st Cir. 2009)) when assessing

   the proper disposition of and remedy for Plaintiff’s motion.

          B.      Issues raised at Mr. Sandy’s deposition (Objection, pp. 6-17)

                  1.      Supplements 1, 2: Expected value calculations (Objection, pp. 7-10)

          Plaintiff does not deny that Defendant conducted a skillful examination at Mr. Sandy’s

   deposition that revealed potential challenges at trial to his conclusions. With that said, the

   Objection overstates the degree to which Mr. Sandy’s deposition testimony diverged from his

   report. More specifically, at page 1 of his report, Mr. Sandy stated the following:

          The reduction in the probability that John Doe will be able to gain entry into a medical
          school is addressed in the report of the expert on medical school admissions, Suzanne M.
          Miller, MD. The reduction in the probability that John Doe would become a
          neurosurgeon assuming he had not been suspended by Brown and had graduated medical
          school is addressed in the report by an expert on neurosurgery residency programs,
          Nicholas Theodore, MD. I have not incorporated any probabilities into my lost earnings
          estimates. My entire focus is on the value of John Doe’s lost earnings.

   Defense counsel picked up on this language and, at his deposition, Mr. Sandy was forthcoming

   about what he meant by the term “lost earnings estimates” – namely the difference between

   projected earnings streams. He acknowledged that a further adjustment at trial would be

   necessary for the probability of each of those earnings scenarios to take place. Supplements 1

   and 2 provide the backup for one set of calculations, but others may be appropriate depending

   upon (a) how the jury evaluates the expert testimony of Drs. Miller and Theodore and/or (b)

   rulings from the Court regarding the admissibility and/or restrictions upon their testimony.

          The purpose of an expert report is to inform an opponent of the expert’s framework for

   testifying, but it is understood that trial testimony may diverge from the four corners of the

   report. For example, Defendant could have engaged its own economist to challenge such expert
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   judgment calls as the choice of comparable earnings data or the discount rate. Had Defendant

   taken this step, Plaintiff would have asked Mr. Sandy to testify at trial in response to the

   testimony of Defendant’s expert. Mr. Sandy would not be limited by the content of his report.

   While Plaintiff believes that Mr. Sandy could cover much of this material regarding expected

   values at trial with or without a supplement to his report, Plaintiff has concluded the better

   course is to reveal this through Supplements 1 and 2 with the opportunity for Defendant to

   depose Mr. Sandy on their content.

                  2.      Out of pocket costs – broker’s fee (Objection, pp. 10-11)

          In this portion of Mr. Sandy’s deposition, Defendant inquired about whether the amount

   Plaintiff paid for rent was excessive, and whether Mr. Sandy’s report should have been correct in

   the matter of a second $2,591 broker’s fee. The first inquiry was not resolved at the deposition,

   as Mr. Sandy had not researched the issue of New York City rental market, and the second one

   required an adjustment that is easy enough to make. Plaintiff acknowledges these shortcomings;

   however, Plaintiff also asks the Court to view them in context – perhaps Defendant could have

   avoided some of its supplementations of document production had it paid more attention, and

   had it been more responsive to Plaintiff’s specific requests.

                  3.      Delay of two years (Objection, pp., 12-13)

          Mr. Sandy’s review of the costs due to Plaintiff’s lost time was inconsistent. Plaintiff

   provided Mr. Sandy with a partial chronology indicating that he initially enrolled at Brown

   University in September, 2013, attended three semesters there (through December 2014), and

   then enrolled at his transfer school in September, 2016. Exhibit E (under seal). This information

   implied that John Doe enrolled at Brown University as part of the Class of 2017, providing a

   baseline for “lost time” analysis.
                                                     5
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          Though he did not realize it at the time he wrote his report, Mr. Sandy had before him

   data suggesting that John Doe would graduate as early as the Spring of 2018, one year after his

   original planned graduation date from Brown University. More specifically, Mr. Sandy

   calculated John Doe’s rent and tuition expenses at his new school on the assumption he was

   staying there for twenty-four months. See CM/ECF 98-1 (Sandy Report), p. 3 Putting this

   together with John Doe’s starting date of September, 2016 at his new school, Mr. Sandy could

   have concluded that John Doe would actually graduate as soon as the Spring of 2018, without the

   need to enroll for another semester.2 In this way, Supplement 3 corrects an error Mr. Sandy

   made when putting together disparate information provided to him by the client.

          The issue of John Doe’s earnings during 2016 before returning to school admittedly

   could have been addressed before Mr. Sandy’s deposition, just as Defendant should have

   provided the emails between Mr. Meisel and Ms. Klawunn before Ms. Klawunn testified at her

   deposition. With that said, Supplements 3 and 3A remedy these issues and Defendant will suffer

   no prejudice, particularly if Defendant chooses to re-depose Mr. Sandy (for which Plaintiff is

   willing to incur the expense).

          C.      Plaintiff’s Post-Deposition Actions (Objection, pp. 13-15).

          When the parties reached the agreed-upon concluding time for Mr. Sandy’s deposition,

   the session was not adjourned, but instead was suspended. See CM/ECF 98-2, p. 114. This left

   Plaintiff with the opportunity to question Mr. Sandy. Later, Defendant elected not to continue

   the deposition and Plaintiff elected to schedule Mr. Sandy’s return. More than one week prior to


   2
          On the other hand, on the same page of his Report, Mr. Sandy stated John Doe needed
          “five academic-year semesters plus one summer semester”, implying a graduation in the
          winter of 2018. CM/ECF 98-1 (Sandy Report), p. 3. Under this scenario, John Doe’s
          lost time would be a year and a half.
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   the last scheduled date of his deposition, Plaintiff forwarded four supplements to Mr. Sandy’s

   report to cover during the session. When Defendant’s counsel asked Plaintiff’s counsel to

   describe the purpose of the continued deposition, this writer stated that the deposition had two

   purposes, namely to explain the material in the supplements, and to allow Defendant the

   opportunity to question Mr. Sandy about them.3 This amounted to a proposal to implement by

   agreement what Plaintiff’s research had identified as the typical remedy courts provide when

   presented with this type of situation. See Probate Court of the City of Warwick ex rel. Lawton v.

   Bank of America Corp., 2010 WL 1508922 at *6, Providence Piers, LLC v. SMM New England,

   2014 WL 5775663 at *6. Defendant stated its preference to have the Court decide this Motion

   first. Given Defendant’s position, Plaintiff did not continue the deposition.

          D.      The Supplements to Sandy’s Report (Objection, pp. 15-16).

          Plaintiff agrees with Defendant’s description of Supplement 1, which adds a row with

   tabulated totals to existing tables in the Report, using methods and data presented in the Report.

          With regard to Supplement 2, Plaintiff submits that Mr. Sandy is providing a preview of

   how he might address questions that arise during trial following the expert testimony of Drs.

   Miller and Theodore. As previously noted, the first page of Mr. Sandy’s report candidly

   acknowledges that his presentation does not incorporate probabilities. As noted in Supplement


   3
          For this reason, Defendant’s description (Objection, p. 3) of Plaintiff’s offer to re-depose
          Mr. Sandy as directed towards the goal of conducting “a scripted deposition” is at best
          incomplete. By not providing a complete description to the Court of this writer’s
          statement, Defendant violated the standard of candor it establishes for Mr. Sandy at
          Objection, p.16 when it chides him for not telling “the full and accurate story” when Mr.
          Sandy states a correction was based on what he learned after completed his report (which
          was true), rather than saying after his deposition which was even later. While the full
          record on Mr. Sandy’s revision is more complex, this writer is disappointed with the
          Objection’s incomplete and unfairly abridged description of communications between
          counsel.
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   2, Dr. Miller’s expert report contains a number of probabilities that may or may not be

   challenged at trial. If Defendant had engaged its own expert who testified on these issues, then

   Mr. Sandy would have the latitude to testify at trial concerning them. Because Defendant did not

   make that choice, the provision of Supplement 2 combined with the opportunity to examine Mr.

   Sandy provide a non-prejudicial remedy.

          With regard to Supplements 3 and 3A (lost time), Plaintiff described at pp. 5-6 supra the

   mixed record on this issue Mr. Sandy had when he wrote his report, and which appears in the

   report. Supplements 3 and 3A iron out these discrepancies.

          With regard to Supplement 4 (additional education costs), Mr. Sandy identified an error

   in his report that Defendant did not, namely that Mr. Sandy had failed to include an offset for the

   savings John Doe realized by not paying Brown University tuition and fees during the first term

   of his suspension (Spring semester, 2015). This was a major amount, and confirms that Mr.

   Sandy wanted to correct errors in his report regardless of whether Defendant had spotted them

   and regardless of how they affected Plaintiff’s damages claim.



   III.   Argument (Objection 17-20)

          Defendant accepts the legal framework of the two cases Plaintiff cites on this subject

   previously decided by this Court, see Probate Court of the City of Warwick ex rel. Lawton v.

   Bank of America Corp., 2010 WL 1508922, Providence Piers, LLC v. SMM New England, 2014

   WL 577566, adding (Objection, p. 18) a case authority from another jurisdiction that reaches the

   same holding (see Richardson v. Korson, 905 F.Supp.2d 193 (D.D.C. 2012) (granting motion to

   supplement expert report following close of discovery while imposing remedy of permitting

   deposition of expert at expense of movant).
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          Plaintiff submits that the record currently before this Court is similar to those in Probate

   Court, Providence Piers and Richardson, in all of which the court granted the motion to

   supplement; furthermore, a key distinction between the records in those case holdings and the

   one at bar argues further in favor of granting the instant Motion. In Probate Court, the movant

   sought to supplement the expert report not only after the expert’s deposition, but also after the

   close of expert discovery, while both this Motion and the scheduled deposition Defendant

   declined to attend took place prior to the close of expert discovery. While there was no expert

   deposition in Providence Piers, the supplementation also came after the Defendant notified

   Plaintiff of the shortcoming in the expert report and after expert discovery had closed. While the

   record in Richardson is not entirely clear, Plaintiff reads it to be even more extreme, in which the

   movant learned about the flaw in his expert’s report when the Defendant moved for partial

   summary judgment, and who moved to supplement to address the flaw identified in the

   defendant’s motion. When the defendant in Richardson contended it would have hired its own

   expert had it known of Plaintiff’s opportunity to supplement, the Court allowed Defendant that

   option as part of its remedy in which the Motion to Supplement was granted. See Richardson,

   supra, 905 F.Supp. 2d at 197-201.4

          While largely fact-based, this Court’s analysis in Probate Court and Providence Piers

   applied a five-part framework of Esposito v. Home Depot U.S.A., Inc., 590 F.3d 72, 78 (1st

   Cir.2009), in which the First Circuit directed courts to consider

          a host of factors, including: (1) the history of the litigation; (2) the sanctioned party's
          need for the precluded evidence; (3) the sanctioned party's justification (or lack of one)
          for its late disclosure; (4) the opponent-party's ability to overcome the late disclosure's


   4
          Plaintiff will not object in the event that Defendant decides it needs to engage its own
          economist at this point due to the supplementation of Mr. Sandy’s report.
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          adverse effects-e.g., the surprise and prejudice associated with the late disclosure; and (5)
          the late disclosure's impact on the district court's docket

   Id. We now consider these factors in turn:

          1.      History of the litigation

          The scope of the first Esposito factor is broad, and Defendant has extended its

   presentation beyond Mr. Sandy’s deposition to include Plaintiff’s response to factual discovery.

   With that said, Plaintiff’s motion to supplement came at a time when expert discovery was still

   open, a timeliness factor supporting the pending motion that was not present in the record of any

   of the three cases (see Probate Court, Providence Piers and Richardson, supra) in which the

   court granted the movant leave to supplement.

          Fairness requires the Court also to consider Defendant’s conduct in reviewing “the

   history of the litigation.” Plaintiff previously described flaws in Defendant’s discovery

   responses (see pp. 2-3, supra), which in some instances detracted from Plaintiff’s ability to

   investigate his case during discovery. To this list, Plaintiff must add another misstep by

   Defendant which appeared in its Memorandum in Support of Motion to Dismiss (CM/ECF 10).

   That document provided the following description of how Defendant honored Plaintiff’s

   contractual due process right to receive the case materials for his Student Conduct Board hearing

   at least seven (7) days in advance:

          The Student Conduct Board’s pre-hearing procedures require that the case administrator
          (Dean Castillo) provide a copy of the available case materials to the respondent (Plaintiff)
          at least seven days before the hearing, which she did on November 5, 2014.

   See CM/ECF 10-1, p. 37 of 41 (numbered “31” at the bottom of the page). This description

   was inaccurate, because Dean Castillo’s November 5, 2014 transmission did not include certain

   available case materials (namely the Womens and Infants Hospital records) that (a) Defendant

                                                   10
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   obtained on or before November 3 (Exhibits F, G), (b) became part of the case materials the

   Student Conduct Board reviewed at Plaintiff’s November 21, 2014 hearing (Exhibit H), but (c)

   were not provided to Plaintiff until November 17, 2014 (Exhibit I).

           This inaccuracy was particularly troubling, because it presented a description of facts (i)

   to which only Defendant had access at the time, (ii) as part of a motion seeking to dismiss the

   case without discovery, and (iii) on which the Court based a portion of its decision. Later, when

   Plaintiff learned in discovery that Defendant obtained a copy of the Womens and Infants records

   on or before November 3 (but failed to distribute them to Plaintiff until November 17), he moved

   to amend his Complaint to incorporate this and other information. Defendant objected because

   the amendment was out of time, and the Court denied the Motion. While Defendant had the

   right to assert its objection (and the Court’s ruling denying the motion was lawful), the

   underlying problem could have been avoided had Defendant been more accurate and

   forthcoming with Plaintiff and with the Court in its Memorandum in Support of Motion to

   Dismiss. For these reasons, the above-quoted passage in Defendant’s Memorandum in Support

   of Motion to Dismiss is a counterexample to the Objection’s assertion in its third sentence

   (CM/ECF 101-1, p. 1) that “Brown has not done anything to interfere with Plaintiff’s ability to

   obtain [a fair trial].”

           Plaintiff submits that this history of the litigation weighs in favor of granting the motion

   to supplement.

           2.       The sanctioned party’s need for the precluded evidence

           As Defendant acknowledges (Objection, p. 20), all of these supplements reduce

   Plaintiff’s damages claim, rather than increase it. Rather than welcome this reduction, Defendant

   objects, apparently in anticipation of a motion challenging “the propriety and admissibility of
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   Plaintiff’s highly speculative claim, ... especially where Sandy has acknowledged that such

   damages, if awarded, could result in a substantial windfall to Plaintiff.” Id.

          Plaintiff does not question Defendant’s right to challenge the admissibility of Mr.

   Sandy’s testimony as supplemented, at which time Plaintiff will respond and the Court will

   decide. That, however, is a different matter than what the above-quoted passage from the

   Objection portends. In his deposition, Mr. Sandy testified that expected value analysis provides

   an accepted way to deal with uncertainty, both in terms of the “upside” and the “downside” of

   different scenarios to which different probabilities are assigned. In this sense, Plaintiff needs Mr.

   Sandy to be able to discuss probabilities and expected values in order to respond to the

   anticipated motion to preclude his testimony.

          At p. 18 of its Objection, Defendant appears to argue that Plaintiff’s “need” to

   supplement Mr. Sandy’s testimony is mitigated by the Complaint’s claim in the alternative for

   injunctive relief. The Objection’s premise that a single complaint seeking damages and

   injunctive is improper because it “Plaintiff cannot have it both ways” (Objection, p. 19) is simply

   off base. Parties plead in the alternative all the time, and the decision on Plaintiff’s claim for

   injunctive relief will be decided by the Court, while his claim for damages will be decided by the

   jury. A decision to preclude Mr. Sandy’s testimony will decimate his damages claim, and for

   that reason severely compromise his case as a whole.

          3.      The sanctioned party’s justification (or lack of one) for its late disclosure

          Mr. Sandy’s report presented the actual difference in earnings streams between three

   different possible careers for John Doe, discounted to present value. A jury could hear the expert

   testimony of Dr. Miller and Dr. Theodore, and on that basis decide which of these career paths

   John Doe was most likely to pursue both before and after the suspension. In that sense, Mr.
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   Sandy’s initial report presented a starting point for calculating John Doe’s lost earnings, which

   could be adjusted by a jury based on cross-examination and/or an opposing expert.

          It was on this basis that Plaintiff submitted the report without making an adjustment for

   expected values, which then could be made at trial. Given that Defendant did not engage an

   expert and chose to emphasize the issue of expected values at the deposition, Plaintiff concluded

   this was likely to arise at trial and therefore it would be appropriate to supplement Mr. Sandy’s

   report (Supplements 1, 2) in order to increase Defendant’s opportunity to prepare. Supplements

   3A and 4 address issues that were highlighted at Mr. Sandy’s deposition, but admittedly could

   have been addressed previously.

                  4.      The opponent-party's ability to overcome the late disclosure's adverse
                          effects-e.g., the surprise and prejudice associated with the late disclosure

          Plaintiff believes that a resumption of Mr. Sandy’s deposition will provide a complete

   cure to any prejudice resulting from the supplements.

                  5.      The late disclosure's impact on the district court's docket

         The parties currently are briefing cross-motions for summary judgment on the issue of

  liability. The briefing schedule continues until February 16, 2018, at which time the Court will

  take them under advisement. As a result, there is ample time to remedy Plaintiff’s late disclosure

  without disrupting the Court’s docket.



   IV.    Conclusion

          For these reasons, Plaintiff respectfully submits that the Motion to Supplement should be

   granted, accompanied by any appropriate conditions the Court prescribes to remove prejudice to

   Defendant.

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                                         Respectfully submitted,
                                         Plaintiff John Doe,
                                         By his attorneys,

                                         NESENOFF & MILTENBERG, LLP
                                         Attorneys for Plaintiff John Doe

                                         By: /s/ Andrew T. Miltenberg_________
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                                                -and-

                                         local counsel for Plaintiff John Doe,

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   December 29, 2017
                                      CERTIFICATE OF SERVICE

         I hereby certify on this 29th day of December, 2017, I served a copy of this Motion on
   Defendants’ counsel via the Court’s CM/ECF system.

                                /s/    Samuel D. Zurier, Esq.




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